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                                 MINUTE ORDER



 CASE NUMBER:             CRIMINAL NO. 17-00101(01) LEK
 CASE NAME:               United States v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi

       DATE:       08/02/2019


COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S “MOTION
FOR BOND”

       On June 1, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed a
“Motion for Bond” (“Motion”). [Dkt. no. 492.] Plaintiff the United States of America’s
(“the Government”) opposition to the Motion is included within a document filed on June
3, 2019, and Defendant’s reply in support of the Motion is included within a document
filed on July 3, 2019. [Dkt. nos. 503, 513.] The Court finds this matter suitable for
disposition without a hearing, pursuant to Local Rule 7.2(d).

       The issue of whether Defendant is entitled to pretrial release was fully litigated at
the time of his arraignment. [Motion to Detain Def. Without Bail, filed 9/25/17 (dkt.
no. 32); Minutes, filed 9/27/17 (dkt. no. 35), at 2 (noting the magistrate judge granted dkt.
no. 32).] Further, Defendant’s other motions revisiting the issue have all been denied.
[Def.’s Motion in Opp. to Denial of Speedy Trial and Pre-trial Release, filed 3/7/18 (dkt.
no. 133); Minutes, filed 4/16/18 (dkt. no. 214), at 1 (denying dkt. no. 133); Def.’s
“Motion to Demand Immediate Release,” filed 7/22/19 (dkt. no. 524); Order Denying
Def.’s Motion to Demand Immediate Release, filed 7/25/19 (dkt. no. 531).] For the
reasons previously stated in connection with those motions, Defendant’s June 1, 2019
Motion is DENIED.

        Defendant states that, “[a]s of December 2019, the hold on [him] has been lifted
and [he] is now considered pre-trial status.” [Motion, Decl. of Counsel, Exh. A at ¶ 10.]
If Defendant’s custody status with the State of Florida changes in December 2019,
Defendant may file a new motion for pretrial release at that time. The motion must either:
include a copy of a document showing the change in Defendant’s custody status with the
State of Florida; or cite a publicly available court document showing the change in status.
If the statement was intended to refer to December 2018, Defendant’s Motion would still
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be denied because he has identified no document showing the alleged change in his
custody status with the State of Florida.

      IT IS SO ORDERED.




Submitted by: Theresa Lam, Courtroom Manager
